                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                             SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       No. 21-05003-01/02-CR-S-MDH
                                                     )
WILLIAM D. JOHNSON, et al.,                          )
                                                     )
                Defendants.                          )

                                             ORDER

       Counsel for Defendant Douglas S. Ward (2) has filed a Motion for Continuance of the

May 3, 2021 trial setting in this case. (Doc. 33.)

       In any case in which a plea of not guilty is entered, the trial shall commence within 70

days from the filing of the information or indictment or the date of the defendant’s first

appearance, whichever comes last. 18 U.S.C. § 3161(c)(1) (the “Speedy Trial Act”). However,

in computing the time within which trial of any offense must commence, any period of delay

resulting from a continuance granted by the court at the request of a defendant or his or her

counsel, which serves the ends of justice, shall be excluded from computing the time. 18 U.S.C.

§ 3161(h)(7)(A). The Speedy Trial Act requires that the court set forth its reasons for finding

that the ends of justice served by the granting of such continuance outweigh the best interests of

the public and the defendant in a speedy trial. Factors which this Court shall consider in

determining whether to grant a continuance include whether the failure to grant such a

continuance would be likely to result in a miscarriage of justice and deny reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.

       Counsel for Defendant states that additional time is needed to conduct discovery. Failure




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to grant the continuance would deny counsel for Defendant the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence. The Court finds that the

ends of justice served by granting a continuance outweigh the best interest of the public and

Defendant in a speedy trial. Also, Count 1 of the Superseding Indictment (doc. 58) charges all

five Defendants jointly with conspiracy. In computing the time within which trial of any offense

must commence, the Speedy Trial Act excludes “a reasonable period of delay when the

defendant is joined for trial with a codefendant as to whom the time for trial has not run and no

severance has been granted.” 18 U.S.C. § 3161(h)(6). No severance has been granted in this

case and the undersigned considers the period of delay caused by this continuance to be

reasonable.   See United States v. Thomas, 774 F.2d 807 (7th Cir. 1985).           It is therefore

ORDERED that:

           1. the Motion for Continuance (doc. 33) is granted;
           2. this case is reset for jury trial on the Joint Criminal Trial Docket commencing
              September 20, 2021 at 9:00 a.m.;
           3. the April 6, 2021 pretrial conference is canceled; and
           4. the additional period of delay caused by this continuance shall be excluded in
              computing the time within which the trial shall commence under the Speedy Trial
              Act.

       IT IS SO ORDERED.

                                                    /s/ David P. Rush
                                                    DAVID P. RUSH
                                                    UNITED STATES MAGISTRATE JUDGE

DATE: April 5, 2021




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